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WA/WD PTS-NoAction
(01/19)                                             UNITED STATES DISTRICT COURT
                                                                                  for
                                                             Western District of Washington
Channon M argaret NoAc tion       -
                                                 Report on Defendant Under Pretrial Services Supervision
Date of Report: 01/05/2021
Name of Defendant: Margaret Aislinn Channon                       Case Number: 2:20-00336M-1
Name of Judicial Officer: The Honorable Brian A. Tsuchida, Chief United States Magistrate Judge
Original Offense: Arson (Counts 1-5); Use of Fire to Commit a Felony (Count 6); and Obstructing Law
                   Enforcement Officers During a Civil Disorder (Count 7)
Date Supervision Commenced: 07/21/2020

Bond Conditions Imposed:

                                 Submit to drug and alcohol testing, to include urinalysis, breathalyzer, or hand-held testing devices, as
                                  directed by Pretrial Services. You shall not use, consume, or possess alcohol, any product containing
                                  alcohol, or other intoxicants, including medication, unless prescribed to you by a physician and under
                                  the direction of Pretrial Services. Obtain an alcohol/substance abuse evaluation and follow any treatment
                                  recommendations as directed by Pretrial Services. You shall participate as directed in a program
                                  approved by the probation and pretrial services office for treatment of narcotic addiction, drug
                                  dependency, or substance abuse, which may include testing to determine if the defendant has reverted to
                                  the use of drugs or alcohol.

                                 Travel is restricted to the Western District of Washington, or as directed by Pretrial Services.

                                 Surrender all current and expired passports and travel documents to the court. Do not apply for/obtain a
                                  new passport or travel document from any country without permission of the court. If the surrendered
                                  passport is a foreign passport, it shall be forwarded to Immigration and Customs Enforcement if
                                  defendant is convicted of an offense, unless otherwise ordered by the Court.

                                 Maintain residence as directed. Do not change residence without prior approval of Pretrial Services or as
                                  directed by Pretrial Services.

                                 You are prohibited from possessing or having access to firearms and dangerous weapons. All firearms
                                  and dangerous weapons must be removed from your residence(s), vehicle(s), and place of employment.
                                  This condition operates in conjunction with any restrictions imposed under Title 18, USC 922, and the
                                  Washington State Revised Code, Chapter 9.41.

                                 Release on third-party custody to: Elizabeth MacGahan

                                 Undergo a mental health, psychiatric or psychological evaluation and follow all treatment
                                  recommendations in that evaluation, as directed by Pretrial Services. You shall take all medications as
                                  prescribed.

                                 You must contribute towards the costs of the services required by this bond, to the extent you are
                                  financially able to do so, as determined by Pretrial Services.

                                 The defendant shall abide by all federal, state, and local directives regarding the COVID-19 pandemic.
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       The defendant shall participate in the location monitoring program with Active Global Positioning
        Satellite technology. The defendant shall comply with a curfew as directed by the location monitoring
        specialist. The defendant shall abide by all program requirements, and must contribute towards the costs
        of the services, to the extent financially able, as determined by the location monitoring specialist. The
        location monitoring specialist will coordinate the defendant's release with the U.S. Marshals.


                                    NONCOMPLIANCE SUMMARY
The defendant has not complied with the following conditions of supervision:

Nature of Noncompliance
   1. The defendant violated the special condition that she abide by a curfew as directed by the location
      monitoring specialist and abide by all program requirements, on or about December 23, 2020, when she
      failed to return home by 9:00p.m., in violation of a special condition of supervision.

Supporting Evidence:
On December 23, 2020, I received an alert from the monitoring company reporting that Ms. Channon failed to
enter her residence by 9:00p.m. as scheduled. I attempted to contact Ms. Channon several times leaving voice
messages at 9:27 p.m. and 9:43 p.m. Additionally, I left a voice message for her mother/third party custodian.
After a review of the Global Positioning Satellite mapping data, I determined that she was at Hot Mamma’s Pizza,
a previous employer. I contacted Ms. Channon by calling Hot Mamma’s Pizza and verifying that she was working.
She explained that she was asked to pick up some holiday shifts and forgot to notify me that she was scheduled
for a closing shift this evening. She was verbally admonished and reinstructed on schedule requests.

   2. The defendant violated the special condition that she abide by a curfew as directed by the location
      monitoring specialist and abide by all program requirements on or about December 24, 2020, when she
      failed to return home by 9:00p.m., in violation of a special condition of supervision.

Supporting Evidence:
On December 24, 2020, I received an alert from the monitoring company reporting that Ms. Channon failed to
enter her residence by 9:00 p.m. as scheduled. I attempted to contact Ms. Channon several times leaving voice
messages at 9:20 p.m. and 9:58 p.m. Additionally, I sent messages to her tracker which she acknowledged,
however she did not immediately leave her location. I then contacted her mother/third party custodian and was
told that Ms. Channon was visiting with her father who was in town for the holidays. Ms. Channon returned home
at 10:00 p.m. I contacted her and she explained that she was visiting with her father who was in town and lost
track of time. She was verbally admonished and her schedule was modified for one day.

On July 15, 2020, Ms. Channon appeared before Your Honor and was ordered released on an appearance bond
with a special condition that she participate in a location monitoring program with a curfew as directed by the
location monitoring specialist.

Ms. Channon has been warned on several occasions about her lack of communication and failure to check voice
messages and emails. Unless she has been approved otherwise, Ms. Channon has been advised that she has a
curfew of 9:00 p.m. until 6:00 a.m. In response to this occurrence, she was verbally admonished and her schedule
was modified for Christmas Day. Additionally, I have contacted defense counsel and the assigned pretrial services
officer for compliance assistance.
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United States Probation Officer Action:
     Reprimand and one day modified schedule
     Defense counsel contacted for compliance assistance

I consulted with Assistant United States Attorney Todd Greenberg, as well as defense counsel, Vanessa Pai-
Thompson, and they concur with my recommendation.

I respectfully recommend that the Court endorse the actions taken at this time.

I swear under penalty of perjury that                    APPROVED:
the foregoing is true and correct.                       Monique D. Neal
                                                         Chief United States Probation and Pretrial Services Officer
Executed on this 5th day of January, 2021.               BY:
A
Jeanie Blodgett                                          Jaymie Parkhurst
United States Probation Officer                          Supervising United States Probation Officer

                         THE COURT FINDS PROBABLE CAUSE AND DIRECTS:
   Judicial Officer endorses the United States Probation Officer’s actions
   Issue a Summons
   Issue a Warrant
   Other




                                                           Brian A. Tsuchida, Chief United States Magistrate Judge

                                                                                    Date
